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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF IOWA
                                   WESTERN DIVISION

                                                     *
VANCE GOOD,                                          *
                                                     *       1:09-cv-28 RP-RAW
       Plaintiff,                                    *
                                                     *
       v.                                            *
                                                     *
MICHAEL J. ASTRUE, Commissioner of                   *
Social Security,                                     *
                                                     *       MEMORANDUM OPINION
                                                     *       AND ORDER
       Defendant.                                    *
                                                     *

       Plaintiff, Vance Good, filed a Complaint in this Court on August 20, 2009, seeking

review of the Commissioner’s decision to deny his claim for Social Security benefits under Title

II and Title XVI of the Social Security Act, 42 U.S.C. §§ 401 et seq. and 1381 et seq. This Court

may review a final decision by the Commissioner. 42 U.S.C. § 405(g).

       Plaintiff filed his applications for benefits on February 13, 2002. Tr. at 110-12 & 423-26.

Plaintiff, whose date of birth is May 30, 1971 (Tr. at 110), was nearly 33 years old at the time of

a hearing on March 12, 2004. Tr. at 450-75. Administrative Law Judge Peter Belli issued a

Notice of Decision – Unfavorable on February 9, 2005. Tr. at 53-64. The ALJ found that

Plaintiff’s learning disorder and depressive disorder are considered severe impairments, but not

severe enough to prevent him from working absent a substance addiction disorder. The ALJ

found that Plaintiff is able to perform his past relevant work as a welder helper, a truck washer,

or a security guard. Tr. at 63-64.

       On January 16, 2007, the Appeals Council issued a Notice of Order of Appeals Council

Remanding Case to Administrative Law Judge. Tr. at 97-101. The Appeals Council found that

the ALJ did not adequately consider the assessment of psychologist Mary Ann Strider, Ph.D.
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The Appeals Council also found that the ALJ did not adequately determine Plaintiff’s mental

residual functional capacity. Finally, the Appeals Council noted that earnings were credited to

Plaintiff’s account which the ALJ was not aware of when he found Plaintiff had not engaged in

substantial gainful activity after the alleged onset of disability. Tr. at 99.

        On remand, the case was assigned to Administrative Law Judge Thomas M. Donahue.

Hereafter, Judge Donahue will be referred to as the ALJ. Plaintiff appeared for a hearing on

August 23, 2007. Tr. at 476-96. The ALJ issued a Notice Of Decision – Unfavorable on March

14, 2008. Tr. at 16-29. The Appeals Council declined to review the ALJ’s decision on July 15,

2009. Tr. at 7-11. Thereafter, Plaintiff commenced this action.

        In his decision, the ALJ found that Plaintiff meets the insured status of the Social

Security Act until March 31, 2011. He found that Plaintiff had not engaged in substantial gainful

activity since his amended onset date of disability, November 19, 2001. The ALJ found Plaintiff

has the following severe impairments: borderline intellectual functioning with a learning

disability for reading; depressive disorder, NOS1; impulse control disorder; intermittent

explosive disorder; inadequate, passive and/or dependent personality features and a history of

polysubstance abuse in recovery. Tr. at 22. The ALJ found that these impairments, alone or in

combination, do not qualify Plaintiff for benefits at the third step of the sequential evaluation. At

the fourth step, the ALJ found Plaintiff has the residual functional capacity to perform work at

all exertional levels, but that work needs to be low stress, quantified at a 4 on a scale of 1-10 –

less than complex, but more than simple, routine, repetitive tasks. Tr. at 23. The ALJ stopped

the sequential evaluation at the fourth step, finding that Plaintiff is able to perform his past


1. Not otherwise specified.

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relevant work as a can sorter and stock clerk. Tr. at 28. The ALJ also noted the existence of

other jobs in the national economy which Plaintiff could perform if the sequential evaluation had

proceeded to the fifth and final step. The ALJ held that Plaintiff was not disabled nor entitled to

the benefits for which he had applied. Tr. at 29.

                           MEDICAL & VOCATIONAL EVIDENCE

       X-rays of Plaintiff’s right hand dated June 12, 2001, showed a comminuted fracture

through the neck of the fifth metacarpal. Tr. at 248.

       On April 1, 2002, Plaintiff underwent a psychological evaluation by Mary Ann Strider,

Ph.D. Tr. at 250-53. Plaintiff reported a history of being involved in a car accident, as a

passenger, in 1992. Plaintiff reported that he was not using alcohol. When discussing his family

history, Plaintiff said that his father was abusive to both him and his mother. He said that his

father once shot at him. Plaintiff said that although he finished high school, he thought his skills

were at a sixth grade level. He said told the psychologist that when he tried to read he would see

things backwards and letters would move around. Plaintiff said that he could not obtain a

driver’s license because of his inability to read and that his inability to read made it impossible

for him to work as a cook because he can not read orders. Plaintiff told the psychologist that he

has problems on the left side of his body: “my left side locks up on me. It will turn purple with

white bumps. Sometimes the pain takes me to the floor and I’m sweating really bad.” Tr. at

250. On mental status exam, Plaintiff admitted to crying spells, especially when alone. He also

admitted to hearing voices which say “You’re worthless, you’re no good.” Tr. at 251. On the

WAIS-3 (Wechsler Adult Intelligence Scale - 3), Plaintiff scored a verbal IQ of 71, a

performance IQ of 87, and a full scale IQ of 77. Plaintiff complained of an inability to


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remember. On the Wechsler Memory Scale, his scores did not provide evidence of memory

difficulties based on organic problems. Dr. Strider opined that his perception of memory

difficulties are based on emotional and stress situational factors. Dr. Strider’s Axis I diagnoses

were: Major depression, moderate, with under stress psychotic features; learning disability,

severe for reading; rule out posttraumatic stress disorder; rule out intermittent explosive disorder.

Tr. at 252. Concluding her report, Dr. Strider wrote:

                 This gentleman does need evaluation and treatment for depression.
                 In light that he is willing to work, has shown skills when the situation
                 does not rely on verbal and written processing, I would not see him
                 as totally disabled. However, presently, I think between his pain and
                 depressive features, he would have difficulty maintaining
                 employment as the record supports. I would recommend that he get
                 some assistance for treatment and possible help and referral from
                 vocational rehabilitation for more appropriate aspects in the job force.

Tr. at 252-53.

       A hospital record dated August 29, 2002, notes that Plaintiff was taking the medication

Paxil. Plaintiff was being treated for a mass on the back of his neck which needed to be

removed. Tr. at 282, 299.

       On September 9, 2002, Plaintiff was seen by George L. Pratt, D.O., for an examination

arranged by an Iowa Disability examiner. Tr. at 301-04. Plaintiff reported that as a result of the

car accident in 1992, and the injury to his right hand, he has decreased grip strengths and

occasional discomfort at the site of the injury. Plaintiff reported that four years before the

examination, he had an episode of numbness of the entire left side of his body. A month before

the exam, he had a second episode which lasted 45 minutes. He said he went to the emergency

room and was diagnosed as “nerves.” Tr. at 301. After a physical examination, Dr. Pratt opined

that Plaintiff’s ability to perform work-related physical activities was not impaired. Tr. at 302.

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       On December 31, 2002, Plaintiff was involuntarily admitted to Jennie Edmundson

Hospital and placed on suicide precautions. Under the heading, Reason For Admission, it is

written: “The patient was brought to the ER by the girlfriend with complaints of chest pain,

admitted and he had been feeling suicidal with plans to shoot himself. Had fastened a noose to

hang himself but was stopped by his girlfriend and then he wanted to put a shotgun to his head

and blow his brains out and she took the gun away.” On admission, a drug screen was positive

for methamphetamine and marijuana. Tr. at 327. On discharge, Plaintiff was diagnosed by John

Fernandez, M.D., on Axis I: Drug induced mood disorder and polysubstance dependence,

intermittent explosive disorder. Plaintiff was to followup at the Mercy Center for Family

Services, for chemical dependency treatment. Tr. at 328. When Plaintiff was seen by Dr.

Fernandez for a psych history and physical, under the heading Past History, the doctor wrote:

               Reveals the patient was born in Omaha, Nebraska, on 05/30/1971.
               He was raised in Council Bluffs. His upbringing was difficult. His
               father beat him a lot and had multiple different kinds of jobs. His
               mother was a cook and he thought she was extremely positive and
               good for him. He, however, was pulled out of school several times
               and had a rather chaotic childhood. His grades were always Bs and
               Cs and he just barely got through. Tells me that he has a learning
               disability, can barely read or write, still does not know how he was
               passed on. He feels that he was a nuisance and a trouble maker, got
               into a lot of fights, and was suspended from school numerous times,
               but was never take [sic] out of the home. He finally managed to get
               his high school diploma. After that, he worked at several odds and
               ends but was heavy into drugs and alcohol and keep stealing and
               breaking and entering, etc. He got picked up by the law and was put
               away for about 2-1/2 years. He spent half the time at Oakdale and the
               other half at a halfway house in Council Bluffs. He states he is now
               reformed and he has been working as a cook and he likes to work at
               nursing homes, etc., but nobody is hiring at this stage. He got
               married at the age of 19. The marriage lasted just over a year. He
               has two children by this lady but he was violent towards her and she

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               escaped from him. He claims that she was unfaithful to him. She left
               him and wants to have nothing to do with him. He has not been
               seeing the children. He does not have to pay child support as she just
               prefers him not to be involved with them. He has been having a lot
               of tumultuous and difficult times. He states he has not been in any
               legal trouble for the last five years, that he learned his lesson, but his
               problems still remain. He use to have hobbies. He has none now.
               He does not care about anything. His girlfriend works as a manager
               at Arby’s and supports him as he has run out of unemployment and
               has no job. He feels nervous and tense much of the time. Still cannot
               get over his mother’s death.

Tr. at 329-30. On January 2, 2003, Plaintiff underwent a chemical dependency evaluation by

DeAnn Zens, MA, ACADC. Tr. at 334-37. During the evaluation, Plaintiff admitted that

chemical use interfered with his ability to learn while in school. Under the heading Employment

History, it was written: “He describes himself as a very poor employee who would receive poor

job performance evaluation from supervisors due to his use and abuse of marijuana and that

these episodes of use often caused problems at his place of employment.” Plaintiff reported that

he was fired after working at the Hardees Restaurant because of marijuana use. “The patient

states that he has been terminated from jobs and that chemicals interfered with is employment.”

Although he reported no income, he said that the spends $50.00 per week on drug use. When

asked to describe a typical day, Plaintiff said: “I get up when I want, I watch TV, I smoke as

much as I can, I eat, and I go back to bed.” Tr. at 335. It was recommended that Plaintiff be

admitted for intensive outpatient treatment “due to his motivation for wanting to quit, his insight

into his disease, the fact that he has a job waiting [for] him when he leaves the hospital, and the

support of friends and family, primarily his girlfriend and his brother that is living with him.”

Ms. Zens opined that Plaintiff would benefit from treatment coupled with counseling for



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depression and suicidal ideations, and a 12-step program. Tr. at 337.

       On February 16, 2004, Plaintiff saw Dr. Strider again at the request of his “disability

consultant,” for an up dated mental status examination. Tr. at 362-70. Plaintiff reported that he

was not taking medication. His girlfriend told Dr. Strider that Plaintiff took Paxil and BuSpar

for two months and she could see that he had more motivation and was happier. Plaintiff

admitted: “I’m lazy now.” Plaintiff told Dr. Strider that he had a job putting tires on semis for

about six months until January 2004. “He thought he was doing that well until they let him go.”

Tr. at 362. Plaintiff reported that he lived in a three bedroom trailer with his girlfriend and his

brother. In addition they keep four ferrets, five cats, a lizard and two dogs. He was not taking

any medication, but agreed that the Paxil and BuSpar helped his mood and behavior. Tr. at 363.

Dr. Strider observed that Plaintiff showed some mild decline in range of affect, and “he clearly

continues to report significant depressive symptoms.” Plaintiff denied delusions, hallucinations

or paranoia, and the doctor saw no evidence of psychosis. Plaintiff reported being frustrated

about not being able to keep a job. He reported that he had worked Kentucky Fried Chicken for

three months but they only gave him two hours of work “here and there.” On Axis I, Dr.

Strider’s diagnoses were Major depression, recurrent, moderate; learning disability, reading,

recovvering from alcohol abuse; rule out intermittent explosive disorder. On Axis II, the doctor

wrote: Passive dependent personality appears likely. Tr. at 364. Dr. Strider completed several

pages of mental residual functional capacity forms (Tr. at 365-70), but noted that Plaintiff’s

depression was untreated. Tr. at 365.

       On May 5, 2005, Plaintiff underwent an evaluation at WESCO Industries, a rehabilitation



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facility. On arrival, Plaintiff was able to provide his address, but not his phone number. He was

unsure of his age, but was able to recite his birth date. Tr. at 199. Plaintiff reported that he had

been in special education since he was five years old. He said that his father had served time in

prison for beating him and his siblings. When discussing his work history, Plaintiff said the

longest he had worked at any one job was 6-7 months. He said that either he was too slow or

could not do the job right. He said that family members or friends had helped him get jobs, but

could not help him keep them. He said that his girl friend was the manager at a fast food

restaurant, but even so he was only able to work there 6 months before she had to let him go.

During the evaluation, Plaintiff was given several time studies based upon Department of Labor

rules and regulations. Tr. at 200. Plaintiff was asked to perform tasks such as counting sheets of

paper and putting them into stacks of 25 with a rubber band around each stack. On such a task,

he performed well below average standards. Tr. at 201. When he was asked to shred two

hundred pieces of paper, one at a time, he performed at a production rate of 38%, far below

average standards. When asked to perform tasks such as washing off a conference table and

vacuuming a floor, etc., he performed at a rate well below average standards. It was noted that

during the evaluation, Plaintiff chose to be by himself, rather than associate with his peers to

whom he had been introduced. The evaluator opined that Plaintiff did not appear to be under the

influence of drugs or alcohol, and that he was cooperative and tried his best at each task. Tr. at

202. In concluding her report, Colleen K. Wessel, Employment Program Specialist, wrote that it

would be very difficult for Plaintiff to maintain even an unskilled job do to his low quality and

quantity of work and limited social skills. She noted that Plaintiff is highly distractible by any



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outside stimuli such as people, sounds, or movements. Ms. Wessel worte: “It is my opinion, that

in the future, Mr. Good would definitely need extra supervision and the assistance of a job coach

in order to secure and maintain any type of community employment.” Tr. at 203.

       On January 11, 2006, Plaintiff was seen for a psychological evaluation by Russell A.

Moulton, M.S. Tr. at 380-83. Plaintiff said that his major problem was depression. He told Mr.

Moulton that he stopped taking Paxil after three months because “it made him more depressed.”

He also said that he discontinued counseling because he didn’t have the money to continue it.

Plaintiff told the psychologist that he continues to experience extreme sadness and crying spells,

during which times he isolates himself in a dark room for a couple days at a time. He said that

he often feels overwhelmed and confused. Tr. at 380. Mr. Moulton wrote:

               He indicated his most recent job was last November when he got a
               job as a trash hauler. Vance went on to say he got the job because the
               boss was a friend of his girlfriend. He indicated he didn’t like the job
               because people yelled at him. He said people told him he wasn’t
               working and then yelled at him. According to Vance, that made him
               more nervous as well as afraid. He said he just stopped going in to
               work and was fired from that job after about a month. He said he
               also had a job at Hy-Vee in Red Oak for about two months. He said
               his job was helping in the kitchen and he did cleaning. Vance
               indicated he got bored with that job and his girlfriend reported his
               attendance was poor which resulted in him being fired.

       On mental status exam, Plaintiff’s mood appeared normal and his affect was appropriate,

but he had some difficulty expressing his thoughts. He had difficulty performing tasks such as

digit span and serial sevens. Plaintiff displayed a limited fund of knowledge, not knowing who

the current governor of Iowa is or who the president of the United States was during the Civil

War. Answers to “very basic addition” were incorrect, even though he used his fingers to count.



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Mr. Moulton observed that Plaintiff’s intellectual functioning was below average. Tr. at 381.

Plaintiff denied any current alcohol or illegal drug use. It was Mr. Moulton’s impression that

Plaintiff had depression as well as some fear and what appeared to be anxiety related to

interacting with people. Tr. at 382. Mr. Moulton observed that based on Plaintiff’s statements,

his life “seems to be pretty bleak.” Tr. at 383.

       Plaintiff saw Dr. Strider again on May 8, 2007. Tr. at 407-17. Plaintiff reported that he

was working for a flour company. Tr. at 407. Plaintiff told Dr. Strider that he earns $8.75 an

hour, works 40 hours a week and has insurance and a 401 plan. Tr. at 408. Dr. Strider

concluded her report by noting evaluations had “consistently noted the substance abuse

difficulties, depression that certainly can be exacerbated by alcohol use, [and] learning

disability.” She worte that Plaintiff is not on any anti-depression medication, nor involved in

treatment to address anger management or impulsiveness. Dr. Strider opined that Plaintiff’s

intellectual ability is in the low average range with a learning disability, and that she did not see

evidence of significant memory impairment in spite of Plaintiff’s history of chemical abuse. Dr.

Strider wrote that Plaintiff’s report of being alcohol and drug free had not been verified by

laboratory evidence. Although Plaintiff had difficulty getting along with others because of his

compulsivity and easy temper “he appears to be functioning reasonably with his job now.” Tr. at

410. At the hearing, Plaintiff testified that he was fired from a job at a company which makes

tortilla flour because he was unable to do the paper work correctly. Tr. at 485-86.

       On June 20, 2007, Dee Wright, Ph.D. a psychologist at Disability Determination Services

reviewed the medical evidence, including Dr. Strider’s May 8, 2007 exam, for the ALJ. Tr. at



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405-06. Dr. Wright pointed out Plaintiff had reported working forty hours a week, moving

supplies for a laboratory, and that he was able to do the work because it involved reading only

numbers. Dr. Wright wrote:

               The medical evidence of record does support limitations of function
               with social interaction when this claimant is unduly stressed. Given
               the claimant’s history, he would function best in setting where he
               were not required to have frequent stressful contact with large
               numbers of unfamiliar individuals. In a low stress and predictable
               environment, he has demonstrated that he can sustain short-lived,
               superficial interaction with others in appropriate ways when it is in
               his perceived interest to do so.

               The current medical evidence of record does not indicate serious
               limitations of function with self-care or other activities of daily living
               from a psychological perspective. The claimant indicates no
               problems with personal grooming. The claimant is able to perform
               chores in his home environment which involves cleaning and
               vacuuming. The claimant reported to the examining psychologist
               that his is able to cook and do laundry. However, his current
               girlfriend performs these tasks. The claimant reports his girlfriend
               also does the shopping but that he can do so also if necessary. The
               claimant is able to travel independently in his environment and he is
               not currently exhibiting seriously impaired executive functioning.

       Dr. Wright opined that Plaintiff did not meet a listed mental impairment, and that he can

function as described above. Tr. at 406.

                                         ALJ’S DECISION

       At the second step of the sequential evaluation, the ALJ found Plaintiff has the following

severe impairments: borderline intellectual functioning with a learning disability for reading;

depressive disorder, NOS, impulse control disorder; intermittent explosive disorder; inadequate,

passive and/or dependent personality features and a history of polysubstance abuse in recovery.

Tr. at 22. At the fourth step, the ALJ found that Plaintiff’s has the residual functional capacity

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set out above. In his decision, the ALJ explained that while Plaintiff testified that many of his

jobs ended because he could not perform adequately, the record supports that some jobs ended

because Plaintiff simply did not like the work – e.g. the job working on the trash truck and the

job as a can sorter. Tr. at 27. The ALJ pointed out that although Plaintiff observed improvement

in his depression when it was treated with medication and counseling, he discontinued for

financial reasons in spite of the availability of low or no cost treatment. Tr. at 28. Furthermore,

the Court would observe that while Plaintiff stated he could not afford medication, he reported

spending as much as $50.00 per week for marijuana. The ALJ wrote:

               ... The undersigned has been further persuaded that the claimant’s
               poor work history has demonstrated a pattern of quitting as well as
               poor attendance and boredom related to job tasks leading up to job
               termination serving to sabotage work attempts which again raises the
               question of motivation to work; however, the claimant retains the
               ability to learn simple, routine, repetitive tasks which do not require
               extended social contact. ...

The ALJ went on to note “the cumulative findings of the consultative examiners which

consistently ... recommended treatment for mental health conditions as well as vocational

rehabilitation.” The ALJ found that Plaintiff retains the ability to do his past relevant work as a

can sorter and stock clerk. Tr. at 28.

                                          DISCUSSION

               We will affirm the ALJ’s decision “[i]f the ALJ’s findings are
               supported by substantial evidence on the record as a whole,” an
               inquiry that requires us to consider evidence in the record that
               detracts from the ALJ’s decision. Wagner v. Astrue, 499 F.3d 842,
               848 (8th Cir. 2007). “Substantial evidence is less than a
               preponderance but is enough that a reasonable mind would find it
               adequate to support the decision.” Reutter ex rel. Reutter v.
               Barnhart, 372 F.3d 946, 950 (8th Cir. 2004).

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               We will not reverse the ALJ’s “denial of benefits so long as the
               ALJ’s decision falls within the ‘available zone of choice.’” Bradley
               v. Astrue, 528 F.3d 1113, 1115 (8th Cir. 2007)). The decision of the
               ALJ “is not outside the ‘zone of choice’ simply because we might
               have reached a different conclusion had we been the initial finder of
               fact.” Id. (quoting Nicola, 480 F.3d at 886). Rather, “[i]f, after
               reviewing the record, the court finds it is possible to draw two
               inconsistent positions from the evidence and one of those positions
               represents the ALJ’s findings, the court must affirm the ALJ’s
               decision.” Goff v. Barnhart, 421 F.ed 785, 789 (8th Cir. 2005).

Owen v. Astrue, 551 F.3d 792, 798 (8th Cir. 2008.) In short, a reviewing court should neither

consider a claim de novo, nor abdicate its function to carefully analyze the entire record.

Wilcutts v. Apfel, 143 F.3d 1134, 136-37 (8th Cir. 1998) citing Brinker v. Weinberger, 522 F.2d

13, 16 (8th Cir. 1975).

       Plaintiff argues, among other things, that the Commissioner failed to properly consider

new and material evidence submitted to the Appeals Council on March 13, 2009, a year after the

ALJ’s decision. Tr. at 440-49. With his letter of argument, Plaintiff submitted a report from

Beverly A. Doyle, Ph.D. Tr. at 443. While the Appeals Council acknowledges receiving

Plaintiff’s letter and Dr. Doyle’s report, the report itself does not appear in the record. The

Appeals Council wrote that the report was considered, but that it does not relate to the time under

consideration by the ALJ, and therefore it is not relevant. Tr. at 8. Plaintiff argues that the Court

must determine whether the ALJ’s decision is supported by substantial evidence based on the

record as a whole, including the report which he maintains is new and material evidence in

support of his claim. Clerk’s 11 at 7-8. The Commissioner disagrees with Plaintiff and takes the

opposite position.

       In Gregg v. Barnhart, 354 F.3d 710, 712-13 (8th Cir. 2003), ten months after the ALJ’s


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decision, Greg submitted a mental health evaluation report to the Appeals Council. As in the

case at bar, the Appeals Council considered the report but did not include it in the record.

Unlike this case, however, Gregg sought and received permission to supplement the record.

Nevertheless, neither the District Court, nor the Court of Appeals, found that the report provided

a basis for reversal. Here, the Court agrees with the Commissioner that while Dr. Doyle’s report

may be relevant in a new application for benefits, it is not relevant to the time under

consideration by the ALJ, and will not be considered by this Court.

       Plaintiff also argues:

               Clearly, there is uncontroverted evidence which would support, at the
               very least, a closed period award. From Plaintiff’s alleged onset date
               of January 30, 2002 (his mother’s death)(Tr. at 445) through Dr.
               Moulton’s psychological evaluation and report of January 11, 2006
               (Tr. at 380) all medical evidence by examining and consulting
               psychologists reflects serious limitations which could not be
               accommodated in any competitive work place. Those medical
               opinions were supported by the May 5, 2005 work evaluation (Tr.
               199-203). That evaluation found that despite best efforts, that both
               the quality and quantity of Plaintiff’s job performance was low, that
               he was slow and highly distractable and that he would need extra
               supervision or the assistance of a job coach (Tr. at 203). The need for
               a job coach, of course, could only be accommodated in a sheltered
               workshop, not a competitive workplace.

Clerk’s 11, at 13. At the first step of the sequential evaluation, the ALJ found that after

November 19, 2001, Plaintiff engaged in substantial gainful activity. “Within the record, the

claimant acknowledge brief stints of employment which ended either due to the inability to

perform job duties, poor attendance, low pay, limited hours, substance abuse issues, disliking the

work or boredom.” It was only by “Giving the claimant the benefit of the doubt ...” and finding

that those periods constituted unsuccessful work attempts rather than substantial gainful activity,

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that the ALJ proceeded beyond the first step of the sequential gainful activity. Tr. at 22. A

review of Plaintiff’s earnings record shows that the ALJ did not err in not finding a closed period

of disability. Plaintiff has never been a high earner, but his highest year of earning was in 2004

– $8,551.76 – during the time Plaintiff would argue for a closed period. In 2002 Plaintiff earned

only $896.01, but in 2003 he earned $3,632.87, in 2004 - $8,551.76 and 2005 - $6,100.90. Tr. at

126. The Court agrees with the ALJ that the record supports that Plaintiff’s poor earnings record

was due, in addition to being unable to do some jobs, to his poor attendance, the low pay of some

jobs, the limited hours of others, using illegal substances, simply not liking some work, and

boredom – all non-disability related factors. See 20 C.F.R. § 404.1566(c) which states:

“We will determine that you are not disabled if your residual functional capacity and vocational

abilities make it possible for you to do work which exists in the national economy, but you

remain unemployed because of...” Eight reasons are listed, among which are: inability to get

work, lack of work in your local area, the hiring practices of employers, no job openings for you,

you would not actually be hired to do work you could otherwise do, and you do not wish to do a

particular type of work.

       The remainder of Plaintiff’s arguments can be summarized as the final decision of the

Commissioner is not supported by substantial evidence on the record as a whole. Again, the

Court disagrees with Plaintiff. There is no question that Plaintiff has mental health impairments.

The question, however, is how sever is Plaintiff’s condition? In this case, the ALJ determined

that while Plaintiff was not motivated to work, his lack of motivation was not caused by a mental

impairment. In the first place, Plaintiff habitually used marijuana, sometimes while actually



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working. Plaintiff admitted that the effects of marijuana adversely affected his ability work.

Although Plaintiff is depressed, it was consistently recommended that Plaintiff receive

medication to improve his mood. During the time that Plaintiff actually took anti-depressant

medication, both he and his girl friend noted significant improvement in his mood. Plaintiff’s

claim that he could not afford to continue his treatment is belied by his ability to spend $50 per

week on marijuana, a substance which he admitted was adverse to his ability to function in the

work place.

       In the opinion of this Court, the ALJ’s decision is supported by substantial evidence on

the record as a whole. In making this determination, the Court has considered the evidence in

the record which detracts from the ALJ’s findings, but that evidence does not form a basis for a

reversal. See, Gavin v. Heckler, 811 F.2d 1195 (8th Cir. 1987) discussing in detail the test for

determining if the Commissioners decision is supported by substantial evidence on the record as

a whole.

                               CONCLUSION AND DECISION

       It is the holding of this Court that the Commissioner’s decision is supported by

substantial evidence on the record as a whole and not affected by errors of law which require

reversal. The Court has considered the evidence which detracts from the Commissioner’s

decision as well as that which supports it. The decision to deny Plaintiff the benefits for which

he applied is affirmed and the case is dismissed.

       IT IS SO ORDERED.

       Dated this ___6th___ day of April, 2010.


                                                -16-
